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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION




UNITED STATES OF AMERICA,                              :       Case No. 1:17-cr-00074(1)
                                                       :
         Plaintiff,                                    :       Judge Susan J. Dlott
                                                       :
    v.                                                 :       ORDER ON DEFENDANT’S
                                                       :       MOTION TO RECONSIDER
JERRY BLACK,                                           :
                                                       :
         Defendant.                                    :

          Before the Court is Defendant Jerry Black’s Motion to Reconsider this Court’s Order

Denying his Motion to Suppress (Doc. 121), and the responsive memoranda (Docs. 123–25).

    I.        FACTS1

          On February 19, 2016, Cincinnati Police Officer Kerri Maloney prepared and presented

an affidavit to a Hamilton County Magistrate Judge for a warrant to search 1821 Tuxworth

Avenue, #1, Cincinnati, Ohio 45238. (Doc. 93-1.) The warrant was issued and, as a result of the

evidence seized, Defendant Jerry Black and non-party Juanda Bankhead were indicted in the

Hamilton County, Ohio Court of Common Pleas. Mr. Black was indicted on two counts of

trafficking in marijuana, two counts of possession of marijuana, one count of receiving stolen

property, and one count of having weapons while under a disability. Ms. Bankhead was indicted

on one count of trafficking in marijuana and one count of possession of marijuana. On July 26,

2016, Mr. Black entered a plea of guilty to two counts of trafficking (reduced) and one count

each of receiving stolen property and having weapons under a disability; he was sentenced to 18


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  Certain background facts are taken from public records, specifically from the Hamilton County, Ohio Court of
Common Pleas. See Rodic v. Thistledown Racing Club, Inc., 615 F.2d 736, 738 (6th Cir. 1980) (quoting Granader
v. Public Bank, 417 F.2d 75, 82–83 (6th Cir. 1969) (“Federal courts may take judicial notice of proceedings in other
courts of record.”)). This Court has “examined the record in state court in an effort to ascertain the facts.” Id.

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months in state custody. On August 2, 2016, Ms. Bankhead pled guilty to an amended and

reduced charge of disorderly conduct; she simply was required to pay a $100.00 fine.

        On June 21, 2017, Mr. Black was indicted by a federal grand jury with one count of

conspiracy to possess with intent to distribute and to distribute marijuana, cocaine, and heroin, in

violation of 21 U.S.C. § 846. (Doc. 1, Count 1 at PageID 1.) On September 29, 2017, he filed a

Motion to Suppress with respect to any evidence seized from Tuxworth Avenue, arguing that no

facts within the affidavit supported probable cause to search the property. (Doc. 93.) The

Government opposed his Motion, arguing that the warrant was sufficient and, regardless, the

Leon good-faith rule2 would apply. (Doc. 99 at PageID 269–72.) As an initial matter, however,

the Government maintained that Mr. Black lacked standing to contest the issuance of the search

warrant (id. at PageID 266–68) and that his previous guilty plea in the state criminal proceeding

acts as a waiver against collateral attack of the warrant in the federal case (id. at PageID 268–

69).

        On the question of standing, Mr. Black claimed a legitimate expectation of privacy at the

Tuxworth Avenue property, and thus protection under the Fourth Amendment, based on his

romantic relationship with tenant Juanda Bankhead. (Doc. 101 at PageID 284.) As her

boyfriend, he was “a frequent and legitimate overnight guest of Ms. Bankhead at her apartment”

on Tuxworth Avenue and thus “ha[d] standing to contest the validity of the search warrant.”

(Id.) To this end an evidentiary hearing was held on November 20, 2017, at which Ms.

Bankhead testified. Thereafter, the Court took the Motion under submission.

        Finding the standing issue dispositive, on December 20, 2017, the Court denied Mr.

Black’s Motion to Suppress:


2
 United States v. Leon, 468 U.S. 897, 922 (1984) (courts typically should not suppress “evidence obtained in
objectively reasonable reliance on a subsequently invalidated search warrant”).

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               “To hold that an overnight guest has a legitimate expectation of privacy in
       his host’s home merely recognizes the everyday expectations of privacy that we
       all share.” Minnesota v. Olson, 495 U.S. 91, 98 (1990). “Staying overnight in
       another’s home is a longstanding social custom that serves functions recognized
       as valuable by society.” Id. “From the overnight guest’s perspective, he seeks
       shelter in another’s home precisely because it provides him with privacy, a place
       where he and his possessions will not be disturbed by anyone but his host and
       those his host allows inside.” Id. at 99.

                If the Court were to credit Ms. Bankhead’s testimony—a textbook
       recitation of what distinguishes a “casual” visitor from one with a legitimate
       expectation of privacy—Defendant plainly would have standing to contest
       the search at Tuxworth Avenue. See United States v. Pollard, 215 F.3d 643,
       647–48 (6th Cir. 2000) (standing found when defendant had been friends with
       lessee for seven years, occasionally spent the night at the residence, kept personal
       belongings in the living room closet, and sometimes ate with the family during his
       visits). However, the Court does not find Ms. Bankhead’s scripted testimony
       at all believable. Most astonishing was her denial that she neither saw nor
       smelled the 100 pounds of marijuana discovered in—and eventually seized
       from—her basement at Tuxworth Avenue, even though she testified that she did
       laundry in that space every night. This Court has a clear recollection of presiding
       at a previous criminal trial at which only 25 pounds of marijuana was present in
       the courtroom as evidence, and the smell was, in a word, overwhelming.

                Moreover, we question whether Ms. Bankhead actually resides at the
       Tuxworth property. At the hearing, the Government produced a “Residential
       Lease Agreement” for property located at 3164 Gobel Avenue, Apt. 2, Cincinnati,
       Ohio 45211 between Ms. Bankhead and a different landlord with a term
       beginning February 1, 2015 and ending March 1, 2016. (Government Exh. 2.)
       When asked about the overlap between this lease and the one for Tuxworth
       Avenue, she said that the dates “can’t be right” because she “moved into Gobel”
       with her mother in 2014. Common sense, of course, undercuts this explanation.
       Surely a typical landlord—always mindful of the need to protect his interests in
       the event eviction proceedings become necessary—would not be so careless as to
       list incorrect start and end dates on a lease, particularly by a whole year in the
       future. The Court is not so gullible as to believe that both landlord and tenant
       failed to catch this mistake.

(Doc. 115 at PageID 412–13 (italic emphasis in original, bold emphasis added).) In its Order,

the Court expressly did not render an opinion on the issue of “waiver” or on the merits of Mr.

Black’s Motion. (Id. at PageID 411.)




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    II.      DEFENDANT’S ARGUMENTS IN FAVOR OF RECONSIDERATION

          Defendant urges the Court to reconsider its credibility assessment of Ms. Bankhead for

two reasons. First, it was improper for the Court to doubt her testimony that she neither “saw nor

smelled” the 100 pounds of marijuana found in her basement based on its own experience—in a

prior trial—“at which only 25 pounds of marijuana was present in the courtroom as evidence,

and the smell was, in a word, overwhelming.” (Motion to Reconsider, Doc. 121 at at PageID

432 (quoting Order Denying Motion to Suppress, Doc. 115 at PageID 413).) Inasmuch as the

Government introduced no evidence of how the marijuana seized from Tuxworth Avenue “was

packaged, in what form it existed, where in the basement it was located, or for how long it had

been stored there,” the Court’s conclusion was impermissibly grounded in “speculation and

evidence outside the record.” (Id. at PageID 432–33.)

          Second, regarding the lease agreement for the Gobel Avenue apartment, the Court should

have believed Ms. Bankhead’s statement that the dates on it were wrong and that she indeed

resided at Tuxworth on the day the search warrant was executed. In support of that testimony,

Defendant now tenders the Affidavit of George Marshall, who avers that he owns the rental

property at 3164 Goebel Avenue.3 (Marshall Aff., Doc. 121-1 at PageID 436 (¶ 4).) Mr.

Marshall confirms that Ms. Bankhead is a former tenant who, at his request, vacated the property

because she was behind in her rent. (Id. (¶¶ 5–8).) And she vacated that property “by the end of

February 2015,” essentially a year prior to the search of Tuxworth Avenue. (Id. (¶¶ 9, 10).)

          These reasons aside, Defendant independently maintains that the Government should be

estopped from arguing that Defendant lacks standing to contest the search warrant because, in a

“separate but related matter,” it has “determined and asserted [that] Mr. Black resides at 1821


3
 Curiously, the lease identified by Ms. Bankhead at the November 20 hearing listed George “Kindle”—not George
“Marshall” as landlord, and spelled the street name of the property “Gobel”—not “Goebel.”

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Tuxworth, #1.” (Supplement to Motion to Reconsider, Doc. 123 at PageID 458.) Regarding co-

Defendant Samuel Washington, on March 20, 2017, the very same Officer Maloney prepared

and presented an affidavit to Hamilton County Magistrate Judge Brad Greenberg for a warrant to

search 3213 Mayridge Court, #4, Cincinnati, Ohio 45211 (hereinafter, the “Mayridge Court”

affidavit). (Doc. 123-1 at PageID 462–67.) Her application was made in connection with the

ongoing investigation into the felony offenses (including assault, murder, and drug trafficking)

committed by members of a group known as FDD (Focus Dedication and Discipline). (Id. at

PageID 463.)

       Although not the target of the warrant, Defendant was mentioned several times

throughout four discrete paragraphs in Officer Maloney’s supporting affidavit. For example, she

states that, on November 11, 2015, a source of information to Task Force Officer Stratmann

referred to Defendant as the “leader” of FDD and the “weed man” in the West End neighborhood

of Cincinnati who would sell “ounces to pounds” of marijuana. (Id. at PageID 464.) Also

according to Officer Maloney, “TFO Stratmann identified 1821 Tuxworth Avenue as an

address associated with Jerry BLACK and other members of FDD.” (Id. (emphasis added).)

Continuing, she testified:

       On February 19, 2016 officers executed a search warrant at the residence of
       Jerry BLACK at 1821 Tuxworth Ave #1. During the search of the residence
       officers recovered approximately 49,700 grams of marijuana in the basement,
       $142,210 in the master bedroom closet, and 3 handguns in the master bedroom
       closet. Jerry BLACK told officers that FDD was not a gang. BLACK stated that
       FDD was a record label with artists all throughout Cincinnati and he was the
       CEO. Jerry BLACK pled guilty to Trafficking in Marijuana and Having
       Weapons Under Disability and was sentenced to the Ohio Department of
       Corrections. Your Affiant learned that FDD members continue to be involved in
       illegal activities to include drug trafficking throughout the city.




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(Id. at PageID 464–65 (emphasis added).)4 The position taken by Officer Maloney in support of

the Maybridge warrant—Tuxworth Avenue is Jerry Black’s residence—is “clearly inconsistent”

with the position now taken by the Government—Tuxworth Avenue is not Jerry Black’s

residence—in response to Defendant’s Motion to Suppress. (Doc. 123 at PageID 459.) This

contradiction unfairly advantages the Government, and is a “perversion” of the judicial process.

(Id. at PageID 458–59.) Accordingly, Defendant urges the Court to exercise its discretion, apply

the doctrine of judicial estoppel, and prohibit the Government from arguing that he lacks

standing to challenge the Tuxworth Avenue search warrant. (Id. at PageID 459–60.)

    III.       ANALYSIS

    A. The Government may not contest Defendant’s standing to challenge the Tuxworth
       Avenue search warrant.

           The Court concludes that application of the doctrine of “judicial estoppel” is appropriate

here, which, in turn, necessitates a finding that the Government may not contest Defendant’s

standing to challenge the Tuxworth Avenue search warrant.

           “The doctrine of judicial estoppel applies to a party who has successfully and

unequivocally asserted a position in a prior proceeding; he is estopped from asserting an

inconsistent position in a subsequent proceeding.” Edwards v. Aetna Life Ins. Co., 690 F.2d 595,

598 (6th Cir. 1982). It may be applied “even if detrimental reliance or privity does not exist”

because it “is intended to protect the integrity of the judicial process.” Id. “Judicial estoppel

addresses the incongruity of allowing a party to assert a position in one tribunal and the opposite

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  Other public records listing 1821 Tuxworth Avenue as Defendant’s address include the traffic citation issued to
him later in the evening of February 19, 2016 and the separate “Arrest & Investigation Report” completed in
connection therewith:

           During traffic stop arrested [sic] was found in possession of a large quantity of marijuana in plain
           view. Officer’s [sic] did search warrant at his address 1821 Tuxworth Ave #1 and recovered
           several packages of marijuana prepared for distribution.

(Id. at PageID 468, 469 (emphasis added).)

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in another tribunal. If the second tribunal adopted the party’s inconsistent position, then at least

one court has probably been misled.” Id.

       The Supreme Court has enumerated three factors that “typically inform” the decision

whether to apply the doctrine in a particular case. New Hampshire v. Maine, 532 U.S. 742, 750–

51 (2001). “[A] party’s later position must be ‘clearly inconsistent’ with its earlier position.” Id.

at 750. Courts also “regularly inquire whether the party has succeeded in persuading a court to

accept that party’s earlier position, so that judicial acceptance of an inconsistent position in a

later proceeding would create ‘the perception that either the first or the second court was

misled.’” Id. (quoting Edwards, 690 F.2d at 599). Also relevant is “whether the party seeking to

assert an inconsistent position would derive an unfair advantage or impose an unfair detriment on

the opposing party if not estopped.” Id. at 751. These factors are neither “inflexible

prerequisites” nor an “exhaustive formula,” with the Court specifically counselling that

“[a]dditional considerations may inform the doctrine’s application in specific factual contexts.”

Id.

       Defendant correctly states that two of these three factors are present in this case. The

Government’s position as to whether Mr. Black resides at Tuxworth Avenue has done an

unmistakable about-face. On May 20, 2017, Officer Maloney swore to Magistrate Judge

Greenberg that Defendant lived there, but beginning on October 16, 2017, with the filing of the

Government’s memorandum in opposition to Defendant’s Motion to Suppress made in this

criminal proceeding, the United States Attorney took the position that Defendant had no

“previous relationship with the residence” and there was no “indicia of acceptance into the

household.” (Doc. 99 at PageID 267; see Doc. 124 at PageID 490.) This turnaround, moreover,

spawned both an “unfair advantage” for the Government and an “unfair detriment” against



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Defendant. Had the Government not argued that Defendant lacked standing to challenge the

constitutionality of the Tuxworth Avenue search warrant, Juanda Bankhead’s testimony—

credible or not—would have been unnecessary. Argument instead would have focused on

whether Defendant is collaterally estopped from challenging the search warrant, and, if not,

whether the warrant is constitutionally sufficient. As discussed below, neither of these

arguments ultimately resolve in the Government’s favor.

        In the Court’s view, the “balance of equities” tips toward estoppel. See New Hampshire,

532 U.S. at 751. The Mayridge Court affidavit was made on May 20, 2017 by the same

Cincinnati Police Officer investigating the same drug trafficking conspiracy.5 In it, she includes

investigation details uncovered by TFO Stratmann who, for the November-December 2015 time

period, identified Tuxworth Avenue as an address “associated with” Defendant, in addition to

her own recitation that the search warrant at issue was executed “at the residence of Jerry

BLACK.” As of May 20, 2017, therefore, the date the Mayridge Court affidavit was made, the

Government declared under oath that 1821 Tuxworth Avenue, #1 was Defendant’s residence.

The Government downplays this reference, insisting it had no “significant bearing” on the

probable cause assessment made by Magistrate Judge Greenberg in issuing the warrant for

Mayridge Court. (Doc. 124 at PageID 490.) The Court disagrees. Officer Maloney applied for

a warrant to search not only the Mayridge Court property, but also the body of co-Defendant

Washington within, whom she suspected of drug possession, drug trafficking, participating in a

criminal gang, and felonious assault. (Doc. 123-1 at PageID 462–63.) Evidence that nearly

50,000 grams (in excess of 100 pounds) of marijuana, $142,210 in cash, and three handguns

were found at the residence of Defendant, the alleged leader of the gang under investigation,


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 The Government does not object to the admissibility of the Mayridge Court affidavit, which clearly falls within the
“public records” exception to the rule against hearsay. See Fed. R. Evid. 803(8).

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most certainly had to play some part in the “totality-of-the-circumstances” analysis required by

Illinois v. Gates, 462 U.S. 213 (1983).

       All these factors prompt the Court to decide that judicial estoppel bars the Government

from arguing that Defendant lacks standing to contest the Tuxworth Avenue search warrant. The

Court’s prior Order (Doc. 115), therefore, is VACATED. We now must consider the

Government’s alternate contention, whether Mr. Black’s previous guilty plea in the state criminal

proceeding acts as a waiver against collateral attack of the warrant in this federal prosecution.

   B. Defendant’s guilty plea in the state criminal proceeding does not bar him from
      challenging the constitutionality of the search warrant in this federal prosecution.

       The Government cites United States v. Broce, 488 U.S. 563 (1989) for the proposition

that Defendant “has not called into question the voluntary and intelligent character of his prior

plea,” and hence cannot now contest “a matter that he has already waived by virtue of his guilty

plea in the previous prosecution.” (Doc. 99 at PageID 268–69.) Broce, however, is inapposite.

In that case defendants pleaded guilty to two separate conspiracy indictments in a single

proceeding and were sentenced as to both. 488 U.S. at 566. Thereafter they sought to

collaterally attack the sentence in a motion filed pursuant to Fed. R. Crim P. 35(a), claiming that

only one conspiracy existed and double jeopardy principles required the conviction and sentence

as to the second indictment be set aside. Id. at 565. Yet because their underlying plea was both

“counseled and voluntary,” the Supreme Court rejected their bid to reopen the original criminal

proceeding. Id. at 569.

       Defendant, on the other hand, cites Haring v. Prosise, 462 U.S. 306 (1983). While not

precisely on point, Haring is sufficiently instructive to resolve the estoppel question raised by the

Government. John Franklin Prosise pleaded guilty in state court to one count of manufacturing

phencyclidine (“PCP”). Id. at 308. While incarcerated, he filed a pro se civil action under 42

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U.S.C. § 1983, claiming that state officers unlawfully searched his apartment in violation of the

Fourth Amendment. Id. at 309. The district court granted summary judgment for the officers,

reasoning that Prosise’s failure to assert his Fourth Amendment claims in state court “constituted

a waiver of that right precluding its assertion in any subsequent proceeding.” Id. (emphasis

added). The Court of Appeals reversed and remanded, and the matter made its way to the

Supreme Court, which decided that his conviction in state court following his guilty plea did not

bar a § 1983 action for an alleged constitutional violation “that was never considered in the state

proceedings.” Id. at 311, 322. The Court outright rejected the contention by the officers that “by

pleading guilty Prosise should be deemed to have either admitted the legality of the search or

waived any Fourth Amendment claim, thereby precluding him from asserting that claim in any

subsequent suit.” Id. at 318. Prosise made “no concession” as to whether the search of his

apartment was proper under the Fourth Amendment, and none should be inferred. Id. It is

“impermissible” to assume that a plea of guilty is grounded in a defendant’s determination that

“he would be unable to prevail on a motion to suppress evidence.” Id. “[A] defendant’s decision

to plead guilty may have any number of other motivations.” Id. (citing Tollett v. Henderson, 411

U.S. 258, 262–63 (1973) (citing Brady v. United States, 397 U.S. 742, 750 (1970))). Elaborating

on the concept of waiver, the Court observed:

       Under our past decisions, as the District Court correctly recognized, a guilty plea
       results in the defendant’s loss of any meaningful opportunity he might otherwise
       have had to challenge the admissibility of evidence obtained in violation of the
       Fourth Amendment. It does not follow, however, that a guilty plea is a “waiver”
       of antecedent Fourth Amendment claims that may be given effect outside the
       confines of the criminal proceeding. The Defendant’s rights under the Fourth
       Amendment are not among the trial rights that he necessarily waives when he
       knowingly and voluntarily pleads guilty.

Id. at 320–21.




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           Here, according to counsel, the record in the state criminal proceeding reflects that Mr.

Black filed a motion to suppress the evidence seized from Tuxworth Avenue, but withdrew it

prior to pleading guilty. Thus, the motion was “never considered” in the state proceedings, and,

under Haring, the Court may not infer that Mr. Black’s guilty plea acts as a waiver now in these

proceedings.6

           A discussion of the merits of Defendant’s Motion to Suppress follows.

     IV.      THE TUXWORTH AVENUE SEARCH WARRANT

           Defendant contends that no facts contained in Officer Maloney’s affidavit support

probable cause to search the Tuxworth Avenue residence, rendering the warrant invalid. Further,

the improperly seized evidence cannot be saved by the Leon good-faith exception. The Court

concurs.

     A. Standard of Law

     1. Probable Cause

           In determining whether a search warrant is supported by probable cause, a court may

consider only the “four-corners of the affidavit.” United States v. Frazier, 423 F.3d 526, 531

(6th Cir. 2005) (citing Whiteley v. Warden, Wyo. State Penitentiary, 401 U.S. 560, 565 n.8

(1971)). Thus, “information known to the officer but not conveyed to the magistrate is

irrelevant.” United States v. Abernathy, 843 F.3d 243, 249 (6th Cir. 2016) (quoting United

States v. Brooks, 594 F.3d 488, 492 (6th Cir. 2010) (citation omitted)).

           An affidavit must show a “likelihood of two things” to establish probable cause for a

search. Id. (internal quotations and citations omitted). They are: “first, that the items sought are

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  The “other” motivations prompting Mr. Black’s guilty plea in the state proceedings are obvious. He pled guilty to
reduced charges, a common enough occurrence. His girlfriend, however, hit the jackpot, so to speak. Originally
facing an 11-year sentence, Juanda Bankhead pled guilty to a single count of disorderly conduct for which she
received no jail time and had to pay a minimal $100 fine. In Ms. Bankhead’s words, once “Mr. Black took
responsibility” the State “let me go.”

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seizable by virtue of being connected with criminal activity; and second, that the items will be

found in the place to be searched.” Id. (citing United States v. Church, 823 F.3d 351, 355 (6th

Cir. 2016) (quoting Zurcher v. Stanford Daily, 436 U.S. 547, 555 n.6 (1978))) (internal

quotations omitted). “[E]vidence of a crime” is a critical component of a search warrant.

Armstrong v. City of Melvindale, 432 F.3d 695, 700 (6th Cir. 2006) (citing Zurcher). To this

end, an applicant for a search warrant must recite the statutory violation for which the warrant is

requested on the face of the warrant or in the affidavit in support. See United States v. Abboud,

438 F.3d 554, 569–71 (6th Cir. 2006).

       Probable cause exists when “common-sense” suggests a “fair probability” that

contraband or evidence of a crime “will be found in a particular place.” Illinois v. Gates, 462

U.S. 213, 238 (1983). “[T]he affidavit supporting the search warrant must demonstrate a nexus

between the evidence sought and the place to be searched.” United States v. Brown, 828 F.3d

375, 382 (6th Cir. 2016) (citing United States v. Carpenter, 360 F.3d 591, 594 (6th Cir. 2004)

(en banc)) (emphasis added). “The connection between the residence and the evidence of

criminal activity must be specific and concrete, not ‘vague’ or ‘generalized.’” Id. (quoting

Carpenter, 360 F.3d at 595).

       Probable cause “is not a high bar.” Kaley v. United States, 134 S. Ct. 1090, 1103 (2014).

“It requires only the kind of fair probability on which reasonable and prudent [people,] not legal

technicians, act.” Id. (citing Florida v. Harris, 133 S. Ct. 1050, 1055 (2013) (quoting Gates, 462

U.S. at 231, 238)) (internal quotations omitted) (alteration in original). A reviewing court should

give “great deference” to a magistrate judge’s probable cause determination and reverse only if it

was “arbitrarily” made. United States v. Frechette, 583 F.3d 374, 379 (6th Cir. 2009). And it

should not engage in “line-by-line scrutiny of the warrant application’s affidavit.” United States



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v. Williams, 544 F.3d 683, 686 (6th Cir. 2008). The affidavit should be judged “on the adequacy

of what it does contain, not on what it lacks, or what a critic might say should have been

added.” United States v. Allen, 211 F.3d 970, 975 (6th Cir. 2000) (emphases added).

       Gates established its “totality-of-the-circumstances” analysis against the backdrop of a

supporting affidavit based on a confidential informant’s tip. “Informants’ tips, like all other

clues and evidence coming to a policeman on the scene, may vary greatly in their value and

reliability.” 462 U.S. at 232 (quoting Adams v. Williams, 407 U.S. 143, 147 (1972).) An

informant’s reliability, veracity, or basis of knowledge are relevant considerations, but should

not be applied rigidly. Id. at 232–33; see United States v. Thomas, 605 F.3d 300, 307 (6th Cir.

2010) (“When an affidavit relies on hearsay information from a confidential informant, the

judicial officer (and reviewing court) must consider the veracity, reliability, and basis of

knowledge for that information as part of the totality-of-the-circumstances review.”) (emphasis

added); see also United States v. King, 227 F.3d 732, 740 (6th Cir. 2000) (Veracity, reliability,

and basis of knowledge of the tip “are relative where the strength of one factor may compensate

for the deficiency of another.” (citing Gates, 462 U.S. at 230, 238–39)) (emphasis added).

   2. Good-Faith Exception to Exclusionary Rule

           “When evidence is obtained in violation of the Fourth Amendment, the judicially

developed exclusionary rule usually precludes its use in a criminal proceeding against the victim

of the illegal search and seizure.” Illinois v. Krull, 480 U.S. 340, 347 (1987). But courts

typically should not suppress “evidence obtained in objectively reasonable reliance on a

subsequently invalidated search warrant.” United States v. Leon, 468 U.S. 897, 922 (1984). The

four specific situations in which an officer’s reliance cannot be considered “objectively

reasonable” are: (1) when the warrant is issued on the basis of an affidavit that an affiant



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knows—or is reckless in not knowing—contains false information; (2) when the issuing

magistrate abandons his or her neutral and detached role and serves as a rubber stamp for police

activities; (3) when the affidavit is so lacking in indicia of probable cause that a belief in its

existence is objectively unreasonable; and (4) when the warrant is so facially deficient that it

cannot reasonably be presumed to be valid. United States v. Laughton, 409 F.3d 744, 748 (6th

Cir. 2005) (citing Leon).

    B. The Affidavit

        As discussed, on February 19, 2016 Cincinnati Police Officer Kerri Maloney, a member

of the Gang Enforcement Squad, made the affidavit in support of the search warrant application

for Tuxworth Avenue. (Doc. 93-1.) In the affidavit, Maloney avers that she and brother and

sister officers have been contacted by “numerous” confidential informants and sources of

information who state that members of FDD have been involved in “[marijuana] trafficking and

violent offenses throughout the city of Cincinnati in the last year.” (Id. at PageID 251.)

Members of FDD “have posted videos online on open sources of information displaying

marijuana and firearms.” (Id.) Additionally, members of FDD “are currently awaiting trial for

felonious assault and homicide offenses that occurred on 5/3/16 [sic], 5/6/15, 5/9/15 and

10/14/15 in the city of Cincinnati.” (Id.) Maloney further avers that she and brother and sister

officers “have discovered that members of FDD and the marijuana trafficking group have been

using 1821 Tuxworth Ave. #1 as a residence.” (Id.) Through “departmental resources” law

enforcement has learned that the residence is “associated with” Juanda Bankhead, who, in turn,

is an “associate” of Defendant Jerry Black, the “identified” leader of FDD and the marijuana

trafficking group. (Id.)




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        In January 2016, brother and sister officers observed a white Chevrolet SUV (Ohio plate

GKM4597), model year 2007, parked outside the Tuxworth Avenue property. This vehicle is

registered to Damondo (aka “Mondo”) Black,7 known to law enforcement8 as “second in charge”

of FDD and the marijuana trafficking group. (Id.) On February 16, 2016, law enforcement

conducted surveillance at Tuxworth, and observed a grey BMW (Ohio plate GQE7515) “pull

into the rear of the location and park.” (Id.) Officers then saw Damondo Black walk from the

rear of the location to the front door, which he unlocked, allowing him to enter the residence.

(Id.) Damondo Black then was observed leaving the residence, locking the front door, and

returning to the grey BMW parked in the rear of the location. (Id.) A short time later, Damondo

Black was stopped by patrol officers for a traffic violation. (Id. at PageID 252.) Found in

possession of personal use marijuana, he was issued a ticket and sent on his way. (Id.) Law

enforcement still conducting surveillance at Tuxworth observed Damondo Black return to the

property in the same grey BMW, unlock the front door, enter, and then later leave. (Id.)

        Officer Maloney ran a Regional Crime Information Center (“RCIC”) inquiry and learned

that Damondo Black was twice convicted of drug possession in Hamilton County. (Id.)

Additionally, he was convicted of drug trafficking (including cocaine and marijuana) in

Kentucky four separate times, with the fourth conviction also including a gun charge. (Id.)

     C. Probable cause does not support the warrant, and the evidence improperly seized
        cannot be saved by the Leon good-faith exception.

         Several deficiencies attend Officer Maloney’s affidavit. First, there is no language, even

boilerplate language, attesting to the reliability or credibility of the confidential informants and

7
  Like Samuel Washington, Damondo Black also is a co-Defendant in this criminal prosecution. Because he shares
the same surname as Defendant Jerry Black, Damondo Black will be referred to by his full name.
8
  This information was acquired “through monitoring recorded jail calls made by other members of FDD and the
marijuana trafficking group who have been and or that are currently in custody at the Hamilton County Justice
Center, various types of social media, and interviews with sources of information and confidential informants.”
(Doc. 93-1 at PageID 251.)

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sources of information providing tips to law enforcement about FDD. Second, while brother

officers claim to have observed various vehicles “directly related to higher ranking members of

FDD and the marijuana trafficking group,” only one vehicle was specifically identified and

independently confirmed as belonging to “second in charge” Damondo Black. (See id. at

PageID 251.) Seen once in January, Damondo Black was seen again at Tuxworth—twice in

fact—on February 19, 2016, the day application for the warrant was made. Yet officers merely

observed him enter and exit the residence, drive away, and enter and exit the residence again.

While he was found in possession of personal use marijuana during the traffic stop in-between,

this discovery is hardly indicative of marijuana trafficking.9

          Having focused first on what the affidavit does contain, we cannot help but underscore

now what it does not. There is no recitation that either law enforcement or any source of

information saw marijuana inside the residence or transported to and from the residence. There

is no record of a drug purchase—controlled or otherwise—at the residence. There is no evidence

of a trash pull that tested positive for marijuana. There is, quite simply, nothing that connects

marijuana with Tuxworth Avenue, other than Officer Maloney’s bald assertion that “Damondo

Black and other members of FDD and the marijuana trafficking group are utilizing this

[residence] to store marijuana and conduct marijuana trafficking business.” (Id. at PageID 252.)

          The Fourth Amendment obviously requires more. Brown, 828 F.3d at 382 (search

warrant affidavit contained no evidence that the defendant distributed narcotics from his home or

used it to store narcotics, or that any suspicious activity had occurred there). In United States v.

Higgins, officers conducted a traffic stop and recovered a large amount of cocaine and cocaine

9
  Arguably the affidavit contains evidence that Damondo Black is a known drug dealer, but there is no allegation
that Tuxworth Avenue is his residence. Rather, the affidavit states that the residence is “associated with” Ms.
Bankhead who is called an “associate” of Defendant Jerry Black, “the identified leader of FDD.” But even if
Tuxworth had been alleged to be Damondo Black’s residence—and thus the residence of a known drug dealer—that
fact, “standing alone,” is not enough to justify a warrant. See Brown, 828 F.3d at 383.

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base. 571 F.2d 381, 385 (6th Cir. 2009). The driver identified the person from whom he bought

the drugs, defendant Oliver Higgins, as well as the specific location of the buy. The two

passengers in the car, each interviewed separately, confirmed that they rode with the driver to the

location. The driver added that he had purchased narcotics from this location on previous

occasions as well. Law enforcement transported the driver back to the location from which he

claimed to have purchased the drugs to confirm. Law enforcement also verified that Higgins

resided at this location, owned the motorcycle parked outside, and had two prior felony

convictions for narcotics trafficking. A search warrant for the residence was issued, where

police found crack cocaine, powder cocaine, marijuana, money, a gun, digital scales, rolling

papers, and mail addressed to Higgins. Id. at 385. The defendant’s motion to suppress, filed

after he was indicted, was denied and he was later convicted. Id. at 386–87. On appeal, the

Sixth Circuit concluded that the search warrant for Higgins’s residence was not supported by

probable cause:

       The informant gave his statements after the police discovered a large amount of
       drugs in his car, giving him an incentive to cooperate with the police to help
       himself. The affidavit contains no assertion that this informant is known to be
       reliable, nor did the police corroborate any of the informant’s statements beyond
       the innocent fact that Higgins lived at the stated location and the irrelevant (to the
       determination of whether Higgins’s house contained evidence of a present-day
       crime) fact that Higgins had a criminal record. Nor does the affidavit contain
       any assertion that the informant had been inside Higgins’s apartment or that
       the informant had seen drugs or other evidence in or around Higgins’s
       apartment.

Id. at 390 (emphasis added). Higgins undeniably dictates a finding that the Tuxworth Avenue

warrant is deficient. Calling the affidavit “weak, but [ ] not bare bones,” Higgins nonetheless

concluded that the Leon good-faith exception saved its warrant. This Court cannot follow suit,

as we determine that the affidavit here is, just, “bare bones.”




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        The evidence seized from 1821 Tuxworth Avenue, #1, Cincinnati, Ohio 45238 will be

suppressed.

   V.       CONCLUSION

        Defendant Jerry Black’s Motion to Reconsider this Court’s Order Denying his Motion to

Suppress (Doc. 121) is GRANTED. This Court’s December 20, 2017 Order Denying

Defendant’s Motion to Suppress (Doc. 115)—based on a finding that Defendant Jerry Black

lacked standing to contest the validity of the search warrant executed on February19, 2016 at

1821 Tuxworth Avenue, #1, Cincinnati, Ohio 45238—is VACATED. Defendant Jerry Black’s

Motion to Suppress evidence obtained during the execution of the Tuxworth Avenue search

warrant (Doc. 93) is—on its merits—GRANTED.

        IT IS SO ORDERED.


        Dated: 2/14/18                       S/Susan J. Dlott__________________
                                             Judge Susan J. Dlott
                                             United States District Court




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